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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE:
                                             Misc. Case No. 15-00204-TPA
 ALL MATTERS RELATED TO NORTH
 AMERICAN REFRACTORIES
 COMPANY, et al. in Case No. 02-20198, as
 affected by the May 24, 2013 Order
 Entering Final Decree entered at Doc. No.   Chapter 11
 7940
        Debtors


 HONEYWELL INTERNATIONAL INC.,               Adv. No. 21-2097
        Plaintiff,
     v.

 NORTH AMERICAN REFRACTORIES
 COMPANY ASBESTOS PERSONAL
 INJURY SETTLEMENT TRUST,
        Defendant.



            HONEYWELL INTERNATIONAL INC.’S PRE-TRIAL BRIEF
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                                        INTRODUCTION

        The last time the parties were before this Court, the Trust represented that it would no

 longer accept form affidavits that utilize identical language across claimants to establish exposure

 to a NARCO asbestos-containing product.           The reason the Trust did so was its own

 acknowledgment of an obvious point: If claimants are simply signing affidavits with identical

 form language, those affidavits are not competent or credible evidence of exposure. Less than two

 years later, the Trust abandoned its commitment and now considers and pays claims that rely on

 formulaic exposure allegations. That is the crux of Honeywell’s complaint in this case, and

 Honeywell asks the Court to hold the Trust to its promise, bar reliance on form affidavits, and

 make clear that claimant law firms need to secure affidavits that are based on firsthand knowledge

 and facts provided by the claimants themselves, instead of a copy of a law firm form.

        Ultimately, the Trust’s activities are governed by the NARCO Asbestos Trust Agreement

 and the NARCO Asbestos Trust Distribution Procedures (“TDP”), both of which were the product

 of extensive negotiations among the various constituents with interests in the Plan. The text of

 those governing documents, as well as their negotiating history, make clear that the Trust must

 ensure that individuals submitting claims to the Trust satisfy specific and rigorous requirements

 for payment. The Trust is nevertheless violating both the Trust Agreement and the TDP in at least

 three ways.

        First, the Trust accepts “form” affidavits that do not constitute competent or credible

 evidence of exposure to a specific NARCO asbestos-containing product. The Trust Agreement

 requires that the Trust pay only “valid . . . claims in accordance with the provisions of the NARCO

 Asbestos TDP.” Ex. A, Trust Agreement § 3.5, at HON Tr. 00014–15. The TDP, in turn, imposes

 two separate and independent criteria that claimants must meet in order to establish valid claims:

 establishing by competent and credible evidence first, the presence of a specific NARCO asbestos-
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 containing product (“NACP”) at the claimant’s worksite, and second, claimant’s occupational

 exposure to that specific NACP. Ex. IF, TDP § 4.7(b)(1), at HON Tr. 09463–64. Boilerplate

 “form” affidavits are not competent or credible evidence of exposure sufficient to meet the criteria

 set forth in the TDP.

        Second, the Trust has re-implemented a “refractory inference,” which is also contrary to

 the TDP’s unambiguous requirement that claimants show exposure to a specific NARCO asbestos-

 containing product. Ex. IF, TDP § 4.7(b)(1), at HON Tr. 09463–64. By assuming that evidence

 of exposure to generic refractory products is enough to show exposure to asbestos-containing

 refractory products made by NARCO, the Trust is paying thousands of claims that do not meet the

 requirements of the TDP.

        Third, the Trust is violating the TDP provisions governing the process for “individual

 review.” Individual review or “IR” is intended only for a claimant who “has extenuating

 circumstances,” Ex. IF, TDP § 4.3, at HON Tr. 09449, but the model that the Trust uses to calculate

 liquidated values for claimants that seek individual review does not consider whether such

 claimants have extenuating circumstances.       As a result, the Trust is paying IR claimants

 significantly more than the Scheduled Value, even in cases where the claimant lacks the

 extenuating circumstances required by the TDP.

        The Trust acknowledges that the TDP imposes certain standards for claims but, in its view,

 the governing documents leave the Trust with expansive discretion to decide what satisfies those

 standards. The Trust’s position is contrary to the plain terms of the TDP, which are the product of

 extensive negotiation between the Trust constituents and were entered by order of the Court. And

 while it is true that the TDP allows the Trust to exercise judgment in certain circumstances, those




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 circumstances are limited and expressly laid out in the TDP itself. The far-reaching “discretion”

 that the Trust seeks here would write the negotiated, agreed-upon terms out of the TDP.

        Unable to meaningfully defend against the core claims in the case, the Trust deflects to its

 counterclaims against Honeywell, which focus on Honeywell’s attempts to settle claims outside

 of the Trust and to negotiate a buyout of Honeywell’s funding obligations. But the Trust can point

 to only one settlement with one claimant law firm that Honeywell entered into in 2018, of which

 the Trustees became aware years ago but raised no objection at the time. And though Honeywell’s

 prior attempt to negotiate a buyout was not successful, all three Trustees acknowledged under oath

 during their depositions in this proceeding that a buyout, in principle, would be an acceptable way

 to resolve the parties’ disputes. The Trust otherwise points to a 2006 pre-confirmation liability

 projection by Dr. Francine Rabinovitz to argue that its current policies—and the resulting claim

 payouts—are consistent with what Honeywell expected to pay in 2006. The Trust’s argument

 rests on a number of unsupported assumptions, but more fundamentally, the Trust’s and

 Honeywell’s experts have since performed up-to-date valuations that estimate the liability at an

 amount significantly less than Dr. Rabinovitz’s sixteen-year-old projection. The Trust offers no

 sound justification, based on its governing documents or otherwise, to ignore the requirements of

 the TDP.

                                          ARGUMENT

 I.     The TDP Imposes Rigorous and Specific Exposure Standards.

        The Trust’s policies with respect to exposure evidence are contrary to the plain terms of

 the Trust’s governing documents. In particular, the TDP sets out the various requirements that

 claimants must meet in order to establish valid NARCO Trust claims. The Trust does not have the

 authority to write those negotiated and agreed-upon terms out of the TDP. Nor can the Trust ignore

 the circumstances surrounding the creation of the Trust, all of which confirm that the TDP was


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 meant to impose stricter exposure standards than what was accepted in the tort system before the

 Trust’s creation.

        A.    The text of the TDP makes clear that claimants must satisfy specific
              requirements to establish a valid claim.

        As is the case in contract disputes, an assessment of what the TDP requires must start with

 its text. See Murfey v. WHC Ventures, LLC, 236 A.3d 337, 355 (Del. 2020) (“[T]he starting point”

 for “approaching a contract dispute” is “a contract’s express terms.”). That principle applies to the

 interpretation of the TDP because Delaware courts interpret trust documents in the same way that

 they interpret other written contracts, relying first and foremost on “the unambiguous language of

 [the] trust instrument to establish the parties’ intent.” Wilmington Trust Co. v. Mills, 2021 WL

 2620585, at *8 (Del. Ch. June 25, 2021).

        The TDP sets out the criteria that claimants must satisfy in order to establish a valid claim.

 First, they must identify the specific NACP to which they were exposed. Ex. IF, TDP § 4.7(b), at

 HON Tr. 09463. That requirement applies to all seven of the various disease levels contemplated

 by the TDP, and it applies to claimants pursuing both expedited and individual review. Id.

 § 4.3(a)(3), at HON Tr. 09445, § 4.3(b)(2), at HON Tr. 09452.

        Second, claimants must establish the “requisite evidence of exposure” to that specific

 NACP, which is defined as “evidence which satisfies all of the criteria of Section 4.7(b)” of the

 TDP. Ex. IF, TDP § 4.3(a)(3) n.3, at HON Tr. 09445 (emphasis added). Section 4.7(b)(1), in turn,

 sets out two separate and independent evidentiary prongs that a claimant must meet: (1) the

 “presence prong” and (2) the “occupational exposure prong.” To satisfy the presence prong, a

 claimant must “demonstrate that a specific asbestos-containing product manufactured or

 distributed by NARCO or its predecessors was present at a site, . . . [by] either: a) submit[ting]

 competent evidence that he or she worked at a site on the Worksite List . . . or . . . b) submit[ting]



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 credible evidence that a specific asbestos-containing product manufactured or distributed by

 NARCO or its predecessors was present at a worksite at which the claimant was employed.” Id.

 § 4.7(b)(1), at HON Tr. 09463. To satisfy the occupational exposure prong, “a claimant must

 submit competent evidence that he or she worked on a regular basis with the NARCO asbestos

 containing product or worked on a regular basis in close proximity to workers engaged in the

 activities set forth in Section 4.7(b)(2)(a) through (c).” Id. at HON Tr. 09464.

        Those terms set out clear requirements for exposure: a claimant must (1) identify a specific

 NACP; (2) establish by competent or credible evidence that the specific NACP identified was

 present at the claimant’s work site; and (3) establish by competent evidence that the claimant was

 actually exposed on a regular basis to the specific NACP. The Trust has defined these terms in its

 directives as follows: competent evidence means “evidence that is relevant and reliable,” and

 “[c]redible evidence of exposure” means evidence that “is believable based on a review of the

 evidence submitted as a whole.” Ex. AN, Jan. 17, 2019 Email from Esserman to Calandra, at HON

 Tr. 01468.

        B.    The plain meaning of the TDP’s exposure requirements is confirmed by the
              circumstances surrounding the Trust’s creation.

        Even if there is some ambiguity in the TDP’s exposure requirements, Delaware courts are

 permitted to consider extrinsic evidence to clarify ambiguous terms and “shed light on the

 expectations of the parties at the time they entered into the Agreement.” Eagle Indus., Inc. v.

 DeVilbiss Health Care, Inc., 702 A.2d 1228, 1233 (Del. 1997); see also Dkt. No. 265 (Case No.

 15-00204) at 25 (“The ‘seminal rule’ of construction in trust cases under Delaware law is that the

 settlor’s intention controls the interpretation of the agreement.”).     Here, the circumstances

 surrounding the Trust’s creation, including the negotiations and eventual adoption of the TDP, all

 confirm that the TDP was intended to impose rigorous exposure standards.



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        That story begins with Honeywell’s decision to remove NARCO asbestos claims from the

 tort system and seek a channeling injunction, under which such claims would be directed to the

 NARCO Asbestos Trust. See 11 U.S.C. § 524(g). The impetus for Honeywell’s decision was that

 courts in the tort system were permitting asbestos claims to move forward on flimsy exposure

 evidence. As Craig Zimmerman, the primary negotiator of the TDP on behalf of Honeywell,

 explained, “Honeywell was interested in pursuing the Chapter 11 procedure . . . in large part

 because its view was [that] the prepetition tort litigation’s environment was broken,” meaning

 “courts were not enforcing minimal evidentiary standards on claimants, primarily . . . because

 there were just too many of them to manage and courts were overwhelmed.” Honeywell Statement

 of Fact (“SOF”) Ex. 3, Zimmerman Dep. Tr. at 303:16–304:2; see also id. at 56:4–10 (Zimmerman

 was the “principal person day-to-day responsible for the shepherding of the TDP” on behalf of

 Honeywell). In particular, Honeywell was concerned that in the tort system, “all a claimant had

 to do was to say in an affidavit, [or] a deposition that I worked with a refractory product that had

 an Indian head logo” to survive summary judgment. Id. at 304:2–11. In Honeywell’s view, “that

 sort of minimal exposure evidence” was not acceptable, and “it was the fact that [NARCO] could

 not dispose of claims like that in the tort system in an efficient and economic manner that led to

 the need to find a more robust and different strategy for resolving NARCO claims than the tort

 system.” Id. at 304:14–23.

        That new strategy resulted in the formation of the NARCO Asbestos Trust, as well as the

 drafting and negotiating of the Trust’s governing documents: the Trust Agreement and the TDP.

 With respect to the TDP, Honeywell intended to include the rigorous requirements that were not

 being applied in the tort system. See SOF Ex. 3, Zimmerman Dep. Tr. at 77:7–17 (“[I]t was our

 intent to limit those claims compensable under the NARCO Trust to those claims from claimants




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 who could identify a specific NARCO product for which the company was prepared to

 acknowledge that it had responsibility in the tort system or would have had responsibility in the

 tort system, and to not pay claims where such evidence was not available, and in the tort system

 that had not been the case.”).

        In drafting the TDP, the negotiating parties—namely, Honeywell, the Asbestos Claimants

 Committee (“ACC,” a predecessor to the Trust Advisory Committee), and the Future Claimants

 Representative (“FCR”)—also understood that the NARCO TDP would impose “more rigorous”

 requirements than those in other asbestos trusts’ TDPs. SOF Ex. 3, Zimmerman Dep. Tr. at 61:16–

 24. In Honeywell’s view, those other trusts were not requiring claimants to demonstrate by

 “competent and believable evidence that they had been exposed to a specific NARCO asbestos-

 containing product.” Id. at 63:25–64:13. With that concern in mind, it was a “necessary condition”

 for Honeywell that the TDP incorporate more rigorous requirements, id. at 61:25–62:3, especially

 given the evergreen nature of Honeywell’s funding obligation. Honeywell accordingly made clear

 in its discussions with the ACC and FCR that, “in contrast to other TDPs,” it expected “that the

 exposure criteria in the NARCO TDP would be more exacting or more rigorous and, for instance,

 require the identification of a specific NARCO asbestos-containing product.” Id. at 63:7–18.

        C.    During TDP negotiations, the parties developed an understanding of key terms
              relating to exposure evidence.

        The parties negotiating the TDP discussed the key exposure requirements relevant to this

 litigation. For instance, Honeywell made clear—and the parties all agreed—that claimants would

 have to identify a specific NARCO asbestos-containing product to which they were exposed. SOF

 Ex. 3, Zimmerman Dep. Tr. at 70:8–24; see also id. at 72:16–73:10 (“I do recall that we reached

 agreement with regard to the use of the word ‘specific NARCO asbestos containing product’ []and

 agreed to include a product list as part of the plan documents.”).



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         The parties negotiating the TDP also had an understanding of the meaning of “competent”

 and “credible” evidence. With respect to “credible,” the parties discussed the term’s meaning

 throughout the course of the TDP negotiations. Indeed, the initial version of the TDP from 2003

 contained two Scheduled Values for the various disease levels depending on whether a claimant

 provided (1) “compelling” evidence that a specific NACP was present at the claimant’s worksite

 or (2) “credible,” but not compelling, evidence that a specific NACP was present at the relevant

 worksite. The 2003 TDP contained footnotes defining both “compelling” and “credible.”1 Ex. E,

 NARCO TDP Draft n.1 & n.2, at HON Tr. 00250–51.

         In 2005, the parties amended the TDP, replacing the two-tiered Expedited Review values

 with a single Scheduled Value. Ex. F, NARCO Alternative TDP, at HON Tr. 00328. As part of

 that negotiation, Honeywell proposed, and the parties discussed, the inclusion of what is essentially

 now Section 4.7(b): the two-prong standard requiring a showing of both presence and occupational

 exposure (which had not been included in the 2003 TDP). And, although the footnote defining

 “credible” was removed from later versions of the TDP, Honeywell understood that definition to

 carry forward. SOF Ex. 3, Zimmerman Dep. Tr. at 112:6–23; see also id. at 82:19–83:13.

 Substantively, the parties understood “credible” evidence to mean “believable on its face:”

         For instance, it is credible for someone to say; I worked at a specific site and I was
         exposed, I used a specific product. It is not credible for someone’s daughter who
         was either not born or three-year-old at the time of the alleged exposure to say; my
         dad worked at a particular site and was exposed to a particular product. . . . [I]t’s a
         believability factor.

 Id. at 82:25–83:13.



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     The definition of “credible” provided: “For purposes of this TDP, ‘credible evidence’ means that evidence which
     does not satisfy the standard of ‘compelling,’ but which includes, at a minimum, competent sworn testimony of
     the claimant or that of one or more Co-workers . . . that the claimant was exposed to a specific NARCO asbestos-
     containing product at a specific worksite at the relevant period of time.” Ex. E, NARCO TDP Draft n.2, at HON
     Tr. 00251.



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        Although the discussion of the meaning of “competent” was “fairly limited,” the parties

 “focused on . . . the fact that the evidence had to reflect its own foundation,” meaning “it had to be

 evident from whatever was submitted that . . . it was a source of information reliable or in a

 position to actually speak to the issue on which it was being presented.” SOF Ex. 3, Zimmerman

 Dep. Tr. at 78:15–25.

        In addition to discussions relating to “competent” and “credible” evidence specifically,

 Honeywell made the broader point throughout TDP negotiations that claimants would have to state

 the facts underlying their claim, rather than just the conclusion that they had been exposed to

 asbestos. SOF Ex. 3, Zimmerman Dep. Tr. at 147:8–22; see also id. at 148:6–10 (explaining that

 exposure standards required a claimant to “state the setting; the when, where, what, how…of [a]

 claimant’s use or proximity to the use of a specific NARCO asbestos-containing product”); id. at

 152:19–25 (“We had a number of negotiating sessions. And whenever a question came up about

 what Honeywell’s expectations were with regard to the exposure requirements, I think

 we . . . certainly I would have said we were expecting to see the facts.”).

        D.    The fact that Honeywell entered into post-petition settlements does not loosen
              the TDP’s exposure requirements.

        The Trust focuses on the fact that after NARCO filed for bankruptcy, Honeywell entered

 into various post-petition settlements with claimant law firms to resolve portions of claimants’

 asserted liability against Honeywell (as opposed to NARCO). SOF Ex. 3, Zimmerman Dep. Tr.

 at 20:15–23. Under those agreements, Honeywell accepted lower quality exposure evidence than

 the TDP requires. But contrary to the Trust’s assertions, these settlements do not demonstrate that

 Honeywell intended to loosen or lower the rigorous exposure standards under the TDP.

        Importantly, the TDP and Honeywell’s post-petition settlements “perform significantly

 different functions.” SOF Ex. 3, Zimmerman Dep. Tr. at 231:2–20. The post-petition settlements



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 “were intended and a necessary step for the purposes of obtaining sufficient claimant support for

 a 524(g) resolution.” Id. at 231:23–232:2. The TDP, however, was “intended to [e]nsure, to the

 extent possible, that only valid NARCO asbestos claims would be paid,” meaning it was intended

 “to achieve a resolution of the asbestos docket going forward, . . . appl[ying] a standard that

 Honeywell had thought should have been applied in the tort system and was not[,] going forward

 in perpetuity.” Id. at 231:18–232:13 (emphasis added). In light of those different functions,

 Honeywell “did not believe that the standards in the postpetition Settlement Agreements could be

 or would be as rigorous as the standards that were applied in the Trust Distribution Procedures by

 the Trust.” Id. at 230:25–231:12.

 II.    Form Affidavits Are Not Competent and Credible Exposure Evidence.

        The Trust’s acceptance of “form” affidavits breaches its obligation to accept only

 competent and credible evidence of exposure to a specific NACP. Ex. IF, TDP § 4.7(b)(1), at

 HON Tr. 09463. Form affidavits are “templates” prepared by claimant law firms that contain

 exposure allegations using identical or substantially similar descriptive language as the language

 contained in other exposure affidavits that were submitted to the Trust. SOF at 4–5. Some form

 affidavits are submitted hundreds and even thousands of times. Id. at 1.

        During the 2015 litigation between the parties, the Trust committed to Honeywell and to

 the Court that it would not accept form affidavits as sufficient to state a valid claim under the TDP.

 SOF at 6. And the Trust abided by that representation for a period of time. In its directives, the

 Trust identified form affidavits as evidence that “raises competence and/or credibility concerns,”

 and instructed CRMC to disregard them. Id. at 1, 6. But when the Trust realized that banning

 form affidavits slowed its rate of payment, the Trust reversed course and mandated that the claims

 processor consider form affidavits in most circumstances without providing any actual data to

 support this decision. Id. at 10–11.


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        Form affidavits are inconsistent with the TDP’s requirements. They do not constitute

 competent evidence of exposure to a specific NACP because they do not reflect the personal

 knowledge of the affiant. See SOF at 4–5. Instead, they rely on formulaic, boilerplate allegations

 of exposure, which the Trust has previously admitted might be “blindly…sign[ed]” by claimants.

 Ex. V, March 11, 2016 Letter from Esserman to Honeywell, at HON Tr. 01066. Nor do form

 affidavits constitute credible evidence because they do not allow affiants to use their own language

 to describe their exposure. See SOF at 4–5. The idea that hundreds of claimants, working different

 jobs at different times and locations, could all accurately testify to the exact same exposure in the

 exact same language is not credible on its face. The unreliability of form affidavits is further

 confirmed by inconsistencies across claimants’ submissions in other litigation. See SOF at 12–14.

        Form affidavits also are not made any more “competent” or “credible” by the fact that

 claimants submitting these statements may have worked at approved worksites that satisfy the

 “presence” prong of Section 4.7(b)(1). See Ex. BJ, Feb. 1, 2019 Email from Esserman to

 Metzfield, at HON Tr. 02166. The text of the TDP makes clear that the “occupational exposure”

 and “presence” requirements are separate and distinct: Section 4.7 of the TDP requires “both” (i)

 presence, “and” (ii) occupational exposure, not just one or the other. Ex. IF, TDP 4.7(b)(1), at

 HON Tr. 09463 (emphasis added). This “conjunctive phrasing” underscores that the “terms are

 separate and distinct” and thus both must be satisfied. Century Surety Co. v. Euro-Paul Constr.

 Corp., 2017 WL 4338790, at *7 (E.D.N.Y. Sept. 29, 2017); see also Concord Steel, Inc. v.

 Wilmington Steel Processing Co., 2008 WL 902406, at *7 (Del. Ch. Apr. 3, 2008) (“Usually, one

 would interpret ‘and’ only in the conjunctive, joining two or more elements in a list and requiring

 all of those elements.”); Castlepoint Nat’l Ins. Co v. Ins. Co. of Pa., 2015 WL 2339092, at *7

 (M.D. Pa. May 13, 2015) (discussing “conjunctive” contract terms).




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            Nor can the Trust justify its reliance on form affidavits by pointing to pre- and post-petition

 claims paid by Honeywell that involved formulaic or check-the-box evidence of exposure, both of

 which are irrelevant to the Trust’s claim-processing requirements as set out in the TDP. The Trust

 Agreement provides that the Trust is to use its assets and income “to promptly pay holders of valid

 NARCO Asbestos Trust Claims in such a way that holders of similar NARCO Asbestos Trust

 Claims are paid in substantially the same manner.” Ex. A, Trust Agreement § 2.2, at HON Tr.

 00004; see also Ex. IF, TDP § 1.1, at HON Tr. 09425. That provision requires the Trust to treat

 claims submitted to the Trust in substantially the same manner; it does not require that the Trust

 pay claims based on evidence that does not meet the requirements of the TDP, simply because

 Honeywell settled claims pre- and post-petition based on similar evidence.2

 III.       The Trust’s Re-Introduction of the “Refractory Inference” Violates the TDP.

            Section 4.7(b)(1) of the TDP unambiguously provides that “the claimant must submit

 requisite evidence of exposure to a specific asbestos-containing product manufactured, sold or

 distributed by NARCO” (emphasis added). Despite that clear requirement, the Trust continues to

 employ a “refractory inference,” under which the Trust pays claims for claimants on an Approved

 Worksite who are non-presumptive for NARCO exposure, even where the claimant provides

 evidence of exposure to a generic refractory product, rather than a specific NARCO asbestos-

 containing product. See SOF at 15–17. In a stipulation “so ordered” by this Court, the Trust

 previously agreed to forego this inference, representing that “the Trust will not, as a matter of




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        Section 524(g) does not impose a different requirement. See 11 U.S.C. § 524(g)(2)(B)(ii)(V) (noting that a
        Section 524(g) trust will pay “present claims and future demands that involve similar claims in substantially the
        same manner”). Again, the relevant question is whether the Trust is treating claimants in the same manner. The
        Trust cannot articulate how future claimants were prejudiced by Honeywell’s pre- and post-petition settlements,
        especially given that the NARCO Trust is an evergreen trust. Nor did the Trust or any other party raise any kind
        of “inequity” objection to the NARCO Plan, which was entered by this Court years ago.



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 blanket policy, accept a bare assertion that the claimant worked around refractory products as

 sufficient to meet the exposure standard under the . . . (‘TDP’).” See Ex. JP, Stipulation, at HON

 Tr. 10214. In 2019, however, the Trust provided a new “Exposure Review Worksheet” to its

 claims processor, instructing the claims processor to ask whether a claimant’s evidence



                                                                          See Ex. BA, Jan. 21, 2019

 Email from Esserman to Sacripanti, at HON Tr. 02086 (emphasis added). The Trust’s reinstitution

 of the refractory inference is contrary to the plain terms of the TDP.

        The refractory inference also runs counter to the intent of the parties that negotiated the

 TDP. As Honeywell made clear throughout discussions with the ACC and FCR, one of the ways

 in which the NARCO TDP exposure requirements would be “more rigorous” than other trusts’

 TDPs was by “requir[ing] the identification of a specific NARCO asbestos-containing product.”

 SOF Ex. 3, Zimmerman Dep. Tr. at 63:7–18. The parties also specifically discussed what evidence

 a claimant on an Approved Worksite would have to provide in order to demonstrate occupational

 exposure: The expectation was that the claimant would submit “an affidavit that would provide

 the facts relating to how [the] claimant had used the NARCO product and come to be exposed…to

 it.” Id. at 159:21–160:8. The parties did not contemplate an “inference” of occupational exposure

 based on satisfaction of the “presence” prong. Nor did Honeywell see a “need to discuss the

 Trustees’ ability to infer compliance” with the exposure requirements “because someone who

 didn’t submit evidence that satisfied the criteria wouldn’t qualify” for payment. Id. at 148:21-

 149:21.

 IV.    The Trust’s “IR Model” Violates the TDP.

        The Trust’s policies with respect to the individual review process violate the express

 provisions of the TDP. Section 4.3(b)(1) “provides a claimant with an opportunity for individual


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 consideration and evaluation of a NARCO Asbestos Trust Claim…where the claimant has

 extenuating circumstances that he or she believes warrant a liquidated value above the applicable

 Scheduled Value” (emphasis added). In the Trust’s view, any claimant who “believes” he or she

 has extenuating circumstances qualifies for individual review. But that contention ignores the

 plain text of the TDP, which states in full that the IR process is available “where the claimant has

 extenuating circumstances that he or she believes warrant a liquidated value above the applicable

 Scheduled Value.” Ex. IF, TDP § 4.3(b)(1), at HON Tr. 09449 (emphasis added). “Has” is the

 operative term. Without that prerequisite, it is irrelevant what the claimant believes about it; the

 claimant’s “belief” is only relevant to the decision whether to seek individual review, assuming

 the claimant satisfies the condition that he or she actually “has extenuating circumstances.” The

 Trust would write out the first clause of the provision, but its clear import is that a claimant must

 have “extenuating circumstances” that substantiate the belief that he or she is entitled to a higher

 liquidated value.

        The TDP further directs the Trust to value IR claims “based on” various objective factors,

 including “age, disability, employment status, disruption of household, family or recreational

 activities, [and] dependencies,” as well as special damages and “pain and suffering.” TDP

 § 4.3(b)(2).   Under IR, a claimant can—and almost always does—receive higher payment

 amounts, which are often multiples of those permitted under expedited review. Ex. DS, Choi Rpt.

 ¶¶ 38–40, at HON Tr. 06050–51. The TDP does, however, also “allow[] the Trust to award less

 than the matrix value in the event that the . . . claimant’s claim warrants a lesser award than

 average.” SOF Ex. 3, Zimmerman Dep. Tr. at 167:2-6; see also Ex. IF, TDP § 4.3(b)(1), at HON

 Tr. 09450 (“[T]he liquidated value of any NARCO Asbestos Trust Claim that undergoes Individual

 Review may be determined to be less than the Scheduled Value the claimant would have received




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 under Expedited Review.”). When the parties negotiating the TDP considered this feature, they

 “discussed the fact that in order for someone to get more than the matrix value[,] they needed to

 show some form of extenuating circumstance or significant plus factor . . . .”       SOF Ex. 3,

 Zimmerman Dep. Tr. at 167:8–17.

        Other TDP provisions were likewise intended to cabin IR payments. Section 4.3(b)(3) of

 the TDP directs the Trustees to “use their best efforts such that the amounts offered through

 Individual Review . . . shall annually arithmetically average” to the “Average Value” schedule for

 claims, which is also set out in the TDP. Ex. IF, TDP § 4.3(b)(3) & n. 8, at HON Tr. 09454. In

 making that determination, however, the Trustees are required to “exclude from its computations

 any amounts that were at or below the Scheduled Value for the relevant Disease Levels of such

 claims.” Id. § 4.3(b)(3) n. 8, at HON Tr. 09454. This provision ensures that the Trust can offer

 below-Scheduled-Value amounts to claimants through Individual Review without such offers or

 payments impacting the Average Value calculations—an important mechanism to ensure that such

 below-Scheduled-Value offers would indeed occur. See SOF Ex. 3, Zimmerman Dep. Tr. at

 169:12–22 (“There was a concern, an abiding concern that Honeywell had, that because the

 Individual Review value for [a] claim, on average, was significantly higher than the matrix value,

 that . . . claimants were incentivized to file for Individual Review even in those individual

 instances where there wouldn’t be a good faith belief that there was extenuating circumstances or

 a particularly strong claim.”). By including such provisions in the TDP, “Honeywell was seeking

 to avoid a situation where everyone [who] . . . entered into Individual Review automatically got a

 significantly higher amount.” Id. at 170:21–25.

        The Trust is violating these provisions by permitting claimants to participate in IR and to

 receive higher payouts well above scheduled values even where their circumstances are objectively




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 average, not extenuating. In particular, the Trust’s current IR model admittedly does not consider

 whether a claimant has extenuating circumstances at all, nor does it adequately account for all of

 the objective factors set forth in the TDP. See SOF at 19. Instead, the IR model simply pays

 claimants more than Scheduled Value the great majority of the time—regardless of whether their

 circumstances are extenuating. See id.; see also Ex. DS, Choi Rpt. ¶ 39, at HON Tr. 06050–51

 (noting that for an average expedited review claimant, the IR model would generate a

 “Hypothetical Claim Value of approximately $166,000, which is 2.2 times the Scheduled Value”).

 If the IR Model were truly measuring and paying for “extenuating circumstances,” then an average

 claimant—with average age and other significant characteristics—would receive only an average

 payout, or roughly the same payout as is available under expedited review. The fact that the IR

 model nevertheless pays more is inconsistent with the TDP.3

 V.       The Trust’s Expenses Breach the Trust Agreement.

          The Trust mismanages its assets and expenditures in violation of its governing documents.

 In particular, the Trust Agreement permits the Trust to “pay employees, legal, financial,

 accounting, investment, audit, forecasting and other consultants, advisors and agents, reasonable

 compensation….” Ex. A, Trust Agreement § 3.1(c)(xi), at HON Tr. 00010 (emphasis added). The

 Trust’s expenses are not reasonable. In fact, they are “on average 6.0 times” as much as several

 other asbestos trusts are expending, amounting to $15,472,971 per year in operating expenses

 alone. Ex. EW, Dudney Rpt., at HON Tr. 06820. These expenses have added up to enormous




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      The Trust may argue that claimants that proceed to IR are entitled to higher liquidated values—regardless of
      whether their circumstances are extenuating—because IR might take longer or impose greater burdens. Even
      assuming such considerations actually impact a claimant’s decision to proceed with IR instead of expedited
      review (and assuming IR in fact imposes greater burdens), those considerations are not among the factors
      explicitly listed in the TDP, see Ex. IF, TDP § 4.3(b)(2), at HON Tr. 09452, and therefore have nothing to do
      with the TDP’s requirements for IR.



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 sums; “[t]he Trust reported total expenses from 2013 through December 31, 2020 of more than

 $123 million, or nearly $60 million excluding reported legal expenses.” Id.

 VI.    The Trust’s Policies Cannot Be Justified As An Exercise Of Discretion.

        The Trust has suggested that its policies regarding exposure evidence and individual review

 are within the discretion afforded it by the Trust Agreement. The Trust relies on Article 3.1 of the

 Trust Agreement, titled “Powers,” which provides that “the Trustees shall have the power to take

 any and all actions that, in the judgment of the Trustees, are necessary or proper to fulfill the

 purposes of the NARCO Asbestos Trust.” Ex. A, Trust Agreement § 3.1(a), at HON Tr. 00009.

 But neither that provision nor any other provision in the Trust Agreement overrides the Trust’s

 obligations to “implement the NARCO Asbestos TDP,” and “pay holders of valid NARCO

 Asbestos Trust Claims in accordance with the . . . TDP.” Id. § 3.5, at HON Tr. 00014. To conclude

 otherwise would “render [those] provision[s] . . . meaningless or illusory,” contrary to Delaware

 law. Osborn ex. rel. Osborn v. Kemp, 991 A.2d 1153, 1159 (Del. 2010); see also Duncan v.

 STTCPL, LLC, 2017 WL 816477, at *4 (Del. Super. Feb. 28, 2017) (“[T]he Court is required to

 give effect to every term of the instrument, if at all possible.”). The better reading of Article 3.1(a)

 is that the Trustees have the authority to exercise discretion to fulfill the Trust’s purposes where

 doing so would not violate another provision of the Trust Agreement or the TDP. See Woolard v.

 Woolard, 547 F.3d 755, 758 n.1 (7th Cir. 2008) (“A trustee does not have discretion to violate the

 trust agreement.”). For instance, Article 3.1(c)(ii) of the Trust Agreement grants the Trust the

 power to invest monies. That provision, on its face, leaves room for Trustee discretion as to what

 investments are prudent and fulfill the purposes of the NARCO Trust. But accepting thousands of

 boilerplate form affidavits that use identical or substantially similar language to establish exposure

 violates Section 4.7(b) of the TDP, which requires evidence of exposure based on personal




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 knowledge. The Trust’s exposure directives cannot be salvaged as permissible exercises of

 discretion.

 VII.   The Trust’s Counterclaims Are Without Merit.

        The Trust’s four counterclaims all fail as a matter of law. And even ignoring those

 deficiencies, discovery has otherwise confirmed that the Trust cannot prove any of its four

 counterclaims at trial.

        The Trust’s first counterclaim seeks a declaratory judgment that Honeywell cannot exercise

 contractual rights beyond those granted it in the Trust Agreement and the TDP. Dkt. No. 171

 (Adv. No. 21-2097) (Count 1) at 68–70. The Trust asserts that Honeywell “routinely attempts to

 exercise rights that it does not have,” including by settling claims outside the Trust, demanding

 that the Trust reject certain exposure evidence, and attempting to negotiate a buyout of

 Honeywell’s evergreen funding obligation. See id. ¶ 139. But nothing in the Trust Agreement or

 the TDP prohibits Honeywell from negotiating a buyout or settling claims with claimant law firms.

 Nor can the Trust explain how it is harmed by the possibility of a buyout or by Honeywell entering

 into one settlement with one claimant law firm years ago. See, e.g., Kuroda v. SPSJ Holdings,

 L.L.C., 971 A.2d 872, 883–84 (Del. Ch. 2009) (holding that “resultant damage to the plaintiff” is

 an essential element of a breach-of-contract claim). To the contrary, all three Trustees have

 acknowledged under oath that a buyout could provide a reasonable resolution here, and the parties’

 experts have submitted updated, similar valuations that suggest a buyout acceptable to both sides

 might be achievable. See SOF at 21–22. And discovery has also shown that the Trust became

 aware of Honeywell’s one law-firm settlement but made no objection or any attempt to unwind it.

 Id. at 20–21. Finally, Honeywell’s insistence that the Trust comply with the TDP’s requirements

 is consistent with its rights as a party to the Trust’s governing documents, as well as its express

 and broad audit rights under the TDP. See Ex. IF, TDP § 4.8(b), at HON Tr. 09466. Two of the


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 trustees conceded that Honeywell has not done anything inappropriate in exercising those rights.

 SOF Ex. 1, Gleason Dep. Tr. at 168:18-22; SOF Ex. 5, Schiro Dep. Tr. at 152:3-15.

         The Trust’s second counterclaim, which requests a declaratory judgment that “Honeywell

 cannot interfere with the contractual rights the Trust Agreement and the TDP grant to Trustees,”

 similarly fails. Dkt. No. 171 (Count 2) at 71. As was the case at the motion-to-dismiss hearing,

 none of the contractual provisions cited by the Trust impose affirmative obligations on Honeywell;

 rather, as the Trust accurately describes them, those provisions only “vest the Trust and the

 Trustees with certain powers and discretion.” Id. ¶¶ 145, 146 (citing Trust Agreement §§ 3.1(a),

 3.1(c), 5.8, 5.10). To assert a breach-of-contract claim under Delaware law, however, the Trust

 must “identify [an] express contractual obligation that was breached.” Wal-Mart Stores, Inc. v.

 AIG Life Ins. Co., 901 A.2d 106, 116 (Del. 2006); see also Pacira Biosciences, Inc. v. Fortis

 Advisors LLC, 2021 WL 4949179, at *12 (Del. Ch. Oct. 25, 2021) (granting dismissal, where

 contract terms “d[id] not impose any obligations on . . . Defendants”).

         The Trust’s third counterclaim requests a declaratory judgment that “Honeywell has

 violated and is continuing to violate Section 524(g) of the Bankruptcy Code.” Dkt. No. 171 (Count

 3) ¶ 153. That claim fails at the outset because the Trust does not have a private right of action to

 pursue a Section 524(g) claim in an adversary proceeding like this one. In re Joubert, 411 F.3d

 452, 456 (3rd Cir. 2005); Pertuso v. Ford Motor Credit Co., 233 F.3d 417, 423 (6th Cir. 2000)

 (“[Section] 524 does not impliedly create a private right of action”); Walls v. Wells Fargo Bank,

 N.A., 276 F.3d 502, 510 (9th Cir. 2002) (“[W]e cannot say that Congress intended to create a

 private right of action under § 524, and we shall not imply one.”).4 To the extent that the Trust



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     Courts have debated whether a violation of Section 524 may be remedied under Section 105(a), which authorizes
     the bankruptcy court to “issue any order, process, or judgment that is necessary or appropriate to carry out the
     provisions of this title.” 11 U.S.C. § 105(a). But the Trust is not proceeding under Section 105. And even if it


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 relies on Honeywell’s prior attempt to negotiate a buyout or its settlement with one claimant law

 firm, this counterclaim fails for the same reasons as the first.

        The Trust’s fourth and final counterclaim, which asks that the Court “permanently enjoin

 Honeywell from further violations of the Trust Agreement, the TDP, and Section 524(g),” fails for

 all the same reasons as its underlying counterclaims. The Trust has also failed to show that it faces

 any harm based on Honeywell’s purported misconduct, particularly with respect to a years-old

 settlement and a previous attempt to resolve the dispute between the parties through a negotiated

 buyout. See, e.g., In re North Am. Refractories Co., 542 B.R. 350, 363 (Bankr. W.D. Pa. 2015)

 (recognizing that courts should consider “current circumstances” and whether they “make the

 injunction unnecessary or inappropriate”); see also Providence Pediatric Med. Daycare Inc. v.

 Alaigh, 672 F. App’x 172, 175 (3d Cir. 2016) (courts may deny injunctive relief as moot where

 the “defendant has discontinued challenged activities” and “there is no reasonable expectation that

 the wrong will be repeated”).

                                                CONCLUSION

        For the reasons set forth above, Honeywell respectfully submits that the Trust’s policies

 and procedures are contrary to the previous commitments it made to this Court and violate both

 the Trust Agreement and the TDP. The Court should enjoin those practices and direct the Trust to

 comply with its prior commitments, the Trust Agreement, and the TDP.




    was, the better statutory reading is that Section 524 does not itself create adversary proceedings, and Section 105
    does not allow for end-runs around that limitation. In re Frambes, 454 B.R. 437, 441 (Bankr. E.D. Ky. 2011).



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 KIRKLAND & ELLIS LLP                             MCDERMOTT WILL & EMERY LLP

 Craig S. Primis, P.C.                            Michael R. Huttenlocher
 (admitted pro hac vice)
                                                  One Vanderbilt Avenue
 Ronald K. Anguas, Jr.                            New York, New York 10017-3852
 (admitted pro hac vice)                          Telephone: (212) 547-5400
                                                  Facsimile: (212) 547-5444
 1301 Pennsylvania Avenue, N.W.
 Washington, D.C. 20004                           QUINN, BUSECK, LEEMHUIS, TOOHEY & KROTO, INC.
 Telephone: (202) 389-5000
 Facsimile: (202) 389-5200                        /s/ Michael P. Kruszewski
                                                  Michael P. Kruszewski
 Nicole L. Greenblatt, P.C.                       (Pennsylvania Supreme Court ID #91239)
 (admitted pro hac vice)
                                                  Arthur D. Martinucci
 601 Lexington Avenue                             (Pennsylvania Supreme Court ID #63699)
 New York, NY 10022
 Telephone: (212) 446-4800                        2222 W. Grandview Blvd.
                                                  Erie, Pennsylvania 16506
                                                  Telephone: (814) 833-2222
                                                  Facsimile: (814) 833-6753
                                                  amartinucci@quinnfirm.com
                                                  mkruszewski@quinnfirm.com

 Counsel for Honeywell International Inc.




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